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                                                                  NORTHERN DISTRICT OF ILLINOIS
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                                                                    JEFFREY P. ALLSTEADT, CLERK
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